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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. Case No. 21-CR-0037-TNM

TIMOTHY HALE-CUSANELLI

Defendant.

ORDER

Pursuant to the motion filed by the United States, it is hereby ordered that the Motion to

Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.

SO ORDERED tis Apfoay or slomaacy. 2025.

HONORABLE TREVOR N. McFADDEN
United States District Court Judge

